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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

 In re:
                                                          Chapter 11
                                      1
 Lordstown Motors Corp, et al.,
                                                          Case No. 23-10831 (MFW)
                           Debtors.
                                                          (Jointly Administered)



                        CERTIFICATION OF COUNSEL REGARDING
                      ORDER SCHEDULING OMNIBUS HEARING DATE

          The undersigned counsel to the debtors and debtors in possession (collectively, the

“Debtors”) in the above-captioned chapter 11 cases (the “Chapter 11 Cases”), hereby certifies

that they have consulted with the Court regarding scheduling an omnibus hearing date for the

Chapter 11 Cases and has been informed that the following date and time is available for an

omnibus hearing in the Chapter 11 Cases:

                           February 22, 2024 at 10:30 a.m. (Eastern Time)

          WHEREFORE, the Debtors respectfully request that, pursuant to rule 2002-1(a) of the

Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the

District of Delaware, the Court enter the proposed omnibus hearing date scheduling order,

substantially in the form attached hereto as Exhibit A, at its earliest convenience.




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           The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown
Motors Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service
address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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Dated: January 19, 2024
Wilmington, Delaware

Respectfully submitted,

 /s/ Morgan L. Patterson
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                                                   Counsel to Debtors and
                                                   Debtors in Possession




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